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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

MARY CLAIRE L. MCCOY                                CIVIL ACTION NO. 19-1810

VERSUS                                              SECTION “S”
                                                    DISTRICT JUDGE LEMMON
ISIDORE NEWMAN SCHOOL AND
ROBERT D. MILLS                                     MAG. DIVISION (5)
                                                    MAGISTRATE JUDGE NORTH


                                          ORDER

        Considering the foregoing Ex Parte Motion for Extension of Time to Plead filed by

Defendant, Isidore Newman School; accordingly,

        IT IS ORDERED BY THE COURT that Defendant’s Ex Parte Motion for Extension of

Time to Plead be and the same is hereby GRANTED, and that Defendant, Isidore Newman

School, has until and through March 27, 2019, in which to respond to the Petition for Damages

and First Supplemental and Amended Petition for Damages filed by Plaintiff.

        New Orleans, Louisiana, this ____ day of March, 2019.



                                            _________________________________________
                                                UNITED STATES DISTRICT JUDGE




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